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                              UNITED STATES DISTRICT COURT                             JS-6
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

  Case No.     CV 20-9482-DMG (ASx)                                         Date    November 15, 2021

  Title Vampire Family Brands, LLC v. MPL Brands, Inc., et al.                             Page     1 of 1


  Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                  NOT REPORTED
                Deputy Clerk                                                Court Reporter

      Attorneys Present for Plaintiff(s)                           Attorneys Present for Defendant(s)
               None Present                                                  None Present

 Proceedings: (IN CHAMBERS) ORDER AND NOTICE TO ALL PARTIES

         In light of the joint notice of settlement, indicating that the case has settled in its entirety
 and that the parties are finalizing their written settlement agreement, this action is placed in inactive
 status. By December 15, 2021, the parties shall file either (1) a stipulation and proposed order for
 dismissal of the action or judgment, or (2) a motion to reopen if settlement has not been
 consummated. Upon the failure to timely comply with this Order, this action shall be deemed
 dismissed as of December 16, 2021.

         This Court retains full jurisdiction over this action and this Order shall not prejudice any
 party to this action. All scheduled dates and deadlines are hereby VACATED.

 IT IS SO ORDERED.




  CV-90                               CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk KT
